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                           UNITED STATES DISTRICT COURT
                                   District of Maine


                                                  )
 STEVEN JIL,                                      )   Docket No. 2:16-cv-00466-GZS
                         Plaintiff                )
                                                  )
 v.                                               )
                                                  )
 COUNTY OF YORK and WILLIAM KING,                 )
                  Defendants                      )
                                                  )


                         ANSWER AND AFFIRMATIVE DEFENSES


       NOW COME Defendants York County and William King, by and through undersigned

counsel, and hereby respond to the allegations contained in Plaintiff’s Complaint as follows:

                                     AFFIRMATIVE DEFENSES

       A. Plaintiff’s Complaint fails to state a cause of action upon which relief may be granted.

       B. Defendant King is entitled to qualified immunity.

       C. Plaintiff has not suffered any compensable damages resulting from the claims alleged in

Plaintiff’s Complaint.

       D. Plaintiff’s damages, if any, were directly and proximately caused by the acts and/or

omissions of an individual and/or entity other than the Defendants.

       E. Plaintiff’s damages, if any, were directly and proximately caused by a legally sufficient

superseding/intervening cause.

       F. Plaintiff has failed to mitigate his damages as required by law.
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                                            ANSWER

        1. Defendants are without sufficient knowledge or information so as to form a belief as to

the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore deny

same.

        2. Defendants admit the allegations contained in this paragraph of Plaintiff’s Complaint.

        3. Defendants admit the allegations contained in this paragraph of Plaintiff’s Complaint.

        4. Defendants admit the allegations contained in this paragraph of Plaintiff’s Complaint.

        5. Defendants are without sufficient knowledge or information so as to form a belief as to

the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore deny

same.

        6. Defendants are without sufficient knowledge or information so as to form a belief as to

the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore deny

same.

        7. Defendants are without sufficient knowledge or information so as to form a belief as to

the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore deny

same.

        8. Defendants are without sufficient knowledge or information so as to form a belief as to

the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore deny

same.

        9. Defendants admit the allegations contained in this paragraph of Plaintiff’s Complaint.

        10. Defendants are without sufficient knowledge or information so as to form a belief as to

the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore deny


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same.

        11. Defendants are without sufficient knowledge or information so as to form a belief as to

the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore deny

same.

        12. Defendants admit the allegations contained in this paragraph of Plaintiff’s Complaint.

        13. Defendants are without sufficient knowledge or information so as to form a belief as to

the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore deny

same.

                              Count 1 - Violation of 42 U.S.C. § 1983

        14. Defendants repeat and reassert its responses to Paragraphs 1 through and including 13

of Plaintiff’s Complaint as if fully set forth herein.

        15. Defendants deny the allegations contained in this paragraph of Plaintiff’s Complaint.

        16. Defendants deny the allegations contained in this paragraph of Plaintiff’s Complaint.

        17. Defendants deny the allegations contained in this paragraph of Plaintiff’s Complaint.

        18. Defendants deny the allegations contained in this paragraph of Plaintiff’s Complaint.

        19. Defendants deny the allegations contained in this paragraph of Plaintiff’s Complaint.

        20. Defendants deny the allegations contained in this paragraph of Plaintiff’s Complaint.

        21. Defendants deny the allegations contained in this paragraph of Plaintiff’s Complaint.

        22. Defendants deny the allegations contained in this paragraph of Plaintiff’s Complaint.

        23. Defendants deny the allegations contained in this paragraph of Plaintiff’s Complaint.

        24. Defendants deny the allegations contained in this paragraph of Plaintiff’s Complaint.




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        WHEREFORE, Defendants pray that judgment be entered in their favor and against Plaintiff

on all counts, plus their costs, interest, and attorneys fees.


Dated: December 27, 2016                                 /s/ Peter T. Marchesi
                                                        Peter T. Marchesi, Esq.


                                                        /s/ Cassandra S. Shaffer
                                                        Cassandra S. Shaffer, Esq.

                                                        Wheeler & Arey, P.A.
                                                        Attorneys for Defendants
                                                        27 Temple Street, P.O. Box 376
                                                        Waterville, ME 04903-0376




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                           UNITED STATES DISTRICT COURT
                                   District of Maine


                                                   )
 STEVEN JIL,                                       )    Docket No. 2:16-cv-00466-GZS
                        Plaintiff                  )
                                                   )
 v.                                                )
                                                   )
 COUNTY OF YORK and WILLIAM KING,                  )
                  Defendants                       )
                                                   )

                               CERTIFICATE OF SERVICE


       I, Peter T. Marchesi, Esq., attorney for the York County Defendants, hereby certify that:

       !      Answer and Affirmative Defenses

has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:

              Robert Levine, Esq.           lroberta@maine.rr.com


Dated: December 27, 2016                                 /s/ Peter T. Marchesi
                                                       Peter T. Marchesi, Esq.
                                                       Attorney for Defendants
                                                       Wheeler & Arey, P.A.
                                                       27 Temple Street, P.O. Box 376
                                                       Waterville, ME 04903-0376




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